    Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 1 of 19




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


W&O SUPPLY, INC.,              §
                               §
      Plaintiff,               §
                               §
                                                      CIVIL ACTION NO.: 4:19-CV-00153
v.                             §
                               §
                                                              Hon. Kenneth M. Hoyt
BRANDON PITRE, TOBI JOHNSON,   §
WILLIAM TERRY, WILLIAM FULLER, §
                                                           JURY TRIAL DEMANDED
and INDEPENDENCE VALVE &       §
SUPPLY, LLC                    §
                               §
      Defendants.              §

     DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
    PLAINTIFF’S AMENDED COMPLAINT AND REQUEST FOR PRELIMINARY
                           INJUNCTION

       Defendants Brandon Pitre (“Pitre”), Tobi Johnson (“Johnson”), William Terry (“Terry”),

William Fuller (“Fuller”), and Independence Valve & Supply, LLC (“Independence”) (collectively

“Defendants”), submit this Memorandum in support of their Motion to Dismiss Plaintiff’s

Amended Complaint and Request for Preliminary Injunction (“Amended Complaint”) under

Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim upon which relief can be

granted, and in support shows the Court as follows.

                                  I.      INTRODUCTION

       1.     The Court should dismiss Plaintiff’s Amended Complaint because Plaintiff has not

plead the existence of enforceable Non-Compete Agreements and has not plead a valid claim for

reformation under the Texas Covenants Not to Compete Act.

       2.     Defendants Pitre, Johnson, Terry, and Fuller are former employees of Plaintiff.

Plaintiff complains that Defendants Pitre, Johnson, Terry, and Fuller left their employment with


                                               1
    Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 2 of 19




Plaintiff and began a competing business, Defendant Independence Valve & Supply, LLC, in

violation of Non-Compete Agreements signed by Pitre, Johnson, Terry, and Fuller when they

began employment with Plaintiff. However, Plaintiff has plead no facts, and cannot plead a set of

facts, supporting the enforceability of the Non-Compete Agreements under Texas law. The Non-

Compete Agreements attached to Plaintiff’s Amended Complaint do not contain a temporal

limitation as required by the Texas Covenants Not to Compete Act (the “Act”). Tex. Bus. & Com.

Code §15.05(a). Although Plaintiff has plead for reformation of the Non-Compete Agreements,

the reformation statute does not permit this Court to reform a non-compete agreement to insert a

temporal limitation where one does not exist. Tex. Bus. & Com. Code §15.51(c).

        3.      Because the restrictive covenant in this case is missing the statutorily required

temporal limitation term and Plaintiff is not entitled to reformation of the Non-Compete

Agreements under the Act, Plaintiff has failed to state a claim upon which relief can be granted

and its Amended Complaint must be dismissed.

                        II.     RELEVANT FACTUAL BACKGROUND

        4.      Plaintiff asserts a claim for breach of contract seeking specific performance based

on four “Non-Compete Agreements” which Defendants Pitre, Johnson, Terry, and Fuller signed

in connection with their employment with Plaintiff. (Doc. 27 at ¶ 22).1 Plaintiff also brings a claim

for tortious interference with contract against Defendant Independence in relation to the same four

“Non-Compete Agreements.” (Id. at ¶ 32).

A. Statutory Framework of the Texas Covenants Not to Compete Act

        5.      Generally, under Texas law any “contract, combination, or conspiracy in restraint

of commerce is unlawful.” Tex. Bus. & Com. Code §15.05(a). However, notwithstanding Section


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 The Non-Compete Agreements make reference to the application of Florida law. However, it is undisputed that
Texas law governs the enforcement of the Non-Compete Agreements in this case.
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    Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 3 of 19




15.05, the Texas Covenants Not to Compete Act permits restraints on trade provided the restrictive

covenant meets the “Criteria for Enforceability of Covenants Not to Compete” contained in

Section 15.50(a) of the Act. Specifically, to be enforceable under the Act the covenant must (1) be

ancillary to or part of an otherwise enforceable agreement at the time the agreement was made;

and (2) contain limitations as to time, geographical area, and scope of activity to be restrained that

are reasonable and do not impose a greater restraint than is necessary to protect the goodwill or

other business interest of the promisee. Tex. Bus. & Com. Code §15.05(a) (emphasis added).

       6.      The Act permits a court to reform a restrictive covenant if it is ancillary to an

otherwise enforceable agreement, but the limitations as to time, geographical area, and scope of

activity contained in the restrictive covenant are unreasonable as written. Tex. Bus. & Com. Code

§ 15.51(c). Under the plain language of Section 15.51(c) of the Act, reformation is not appropriate

for a statutorily required term that is not contained in the covenant. The legislative history of the

Act demonstrates that inclusion of the words “contains” and “contained” in Section 15.51(c) are

important to the operation of the statute.

       7.      In 1989 the 71st Texas Legislature enacted the Act, which created Sections 15.50

and 15.51 of the Texas Business and Commerce Code. S.B. 946, 71st Leg., Reg. Sess. (Tx. 1989).

Section 15.50 was divided into two sub-sections and provided that a non-compete agreement is

enforceable if it: (1) is ancillary to or part of an otherwise enforceable agreement, and (2) contains

reasonable limitations as to time, geographical area, and scope of activity to be restrained. Id.

       8.      Section 15.51 originally provided the “procedures and remedies in actions to

enforce covenants not to compete.” Id. As drafted in 1989, Section 15.51(c) stated that if a non-

compete agreement satisfied subsection (1) of Section 15.50 but failed to satisfy subsection (2) of

Section 15.50, then the court shall reform the non-compete agreement to satisfy subsection (2) at

                                                  3
    Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 4 of 19




the request of the employer. Id. As originally written, Section 15.51(c) called for courts to reform

non-compete agreements if they failed to comply with subsection (2), regardless of whether the

required restrictions actually appeared on the face of the covenant. This meant that a non-compete

agreement could be reformed regardless of whether the covenant contained overbroad restrictions

or failed to contain any of the required restrictions at all.

        9.       However, in 1993, the Seventy-Third Texas legislature amended the Covenants Not

to Compete Act and revised Sections 15.50 and 15.51. H.B. 7, 73rd Leg., Reg. Sess. (Tx. 1993).

Section 15.51(c) was revised to add the words “contains” and “contained” with reference to the

required restrictions in Section 15.50(a). The revised Section 15.51(c) reads as follows:

             if the covenant is found to be ancillary to or part of an otherwise enforceable
             agreement but contains limitations as to time, geographical area, or scope of
             activity to be restrained that are not reasonable and impose a greater restraint
             than is necessary to protect the goodwill or other business interest of the
             promise, the court shall reform the covenant to the extent necessary to cause
             the limitations contained in the covenant as to time, geographical area, and
             scope of activity to be restrained to be reasonable and to impose a restraint
             that is not greater than necessary…

Tex. Bus. & Com. Code § 15.51(c) (emphasis added).

        10.      By changing the wording of Section 15.51(c), the Texas legislature intended that a

non-compete agreement only be reformed to narrow overbroad limitations which are already a part

of the covenant. By specifically adding the language “contains limitations” and “limitations

contained in the covenant” the Texas legislature makes it clear that Section 15.51 requires that

non-compete agreements to contain limitations as to time, geographical area, and scope of activity

in order for an overbroad non-compete agreement to be eligible for reformation. See Tex. Bus. &

Com. Code § 15.51(c).




                                                    4
    Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 5 of 19




B. Plaintiff’s Allegations

         11.     Plaintiff brings claims against Defendants Pitre, Johnson, Fuller, and Terry for

breach of contract, alleging that Defendants Pitre, Johnson, Fuller, and Terry are in violation of

the “Non-Compete Agreements ” that Pitre, Johnson, Fuller, and Terry each signed in connection

with their employment with Plaintiff. (Doc. 27 at ¶ 22). Plaintiff brings a claim for tortious

interference with a contract against Defendant Independence alleging that Independence interfered

with Plaintiff’s relationships with Pitre, Johnson, Fuller, and Terry, and induced them to terminate

their employment with Plaintiff and violate their “Non-Compete Agreements.” (Id. at ¶ 32).

         12.     Defendant Teri Johnson worked as an operations manager for Plaintiff’s Houston

office. Prior to this, she worked as a senior inside sales person. (Id. at ¶ 11). Defendant William

Fuller worked as an inside sales manager for Plaintiff. (Id. at ¶ 12). Defendant William Terry

worked as an outside salesman for Plaintiff. (Id. at ¶ 13). Defendant Brandon Pitre worked as a

market leader in Plaintiff’s Houston office, and acted as general manager of Plaintiff’s Houston

office. (Id. at ¶ 10).

         13.     Plaintiff alleges that in connection with their employment Defendants each signed

a non-compete agreement (the “Non-Compete Agreements”). (Id. at ¶¶ 10-14). While each

Defendant signed their own individual non-compete agreement at different times, all of the Non-

Compete Agreements contain the same terms. (Id. at ¶¶ 10-14). The Non-Compete Agreements

state:

         •   Employee agrees that, during the term of this employment and in the event
             of termination (voluntary or involuntary) he/she will not attempt to divert any
             existing or possible future business of Employer, or assist in any such
             competition within one hundred (100) miles of any W & O Supply branch
             operation existing at the time of termination of employment.

         •   Employee agrees that he/she will not at any time directly or indirectly, either
             during or after termination of employment, make use of or disclose to any
                                                   5
    Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 6 of 19




           person, group or organization, any information and/or details including, but
           not limited to the names or addresses of any employees or customers of
           Employer, the details or provisions of any written or oral contract or
           understanding between employer and nay materials, manuals, forms,
           techniques, methods, or procedures of Employer used by or made available
           to Employee in the course of his/her employment.

       •   Employee further agrees that, immediately upon termination of employment,
           and prior to final compensation, and/or upon request by Employer at any
           time, he/she will return to Employer any and all materials including but not
           limited to employee lists, papers, documents or data (including any and all
           copies thereof) belonging to or relating to the business of Employer.

(Id. at ¶ 14, Ex. A-D).

       14.     Plaintiff attached the Non-Compete Agreements signed by Defendant’s as Exhibits

A-D of its Original Complaint and refers to the language of the Non-Compete Agreements in its

Original Complaint. (Id. at ¶¶ 10-14, Ex. A-D). Plaintiff alleges that in exchange for signing the

Non-Compete Agreements, Defendants were granted access to Plaintiff’s confidential

information. (Id. at ¶ 14).

       15.     Plaintiff alleges that Defendants are now in breach of the Non-Compete

Agreements they signed while employed by Plaintiff. (Id. at ¶¶ 14, 20-23). However, Plaintiff

seeks reformation of the Non-Compete Agreements in the event that the Court determines the Non-

Compete Agreements are unenforceable as written. (Id. at ¶¶ 24-26).

       16.     Plaintiff does not allege that the Non-Compete Agreements contain a temporal

limitation as required by Section 15.50(a) of the Act. However, Plaintiff seeks specific

performance of the Non-Compete Agreements, and requests a temporary and permanent injunction

restraining Defendants as follows:

       (a) Pitre, Johnson, Fuller, and Terry, for a period of twenty four (24) months,
           shall not directly or indirectly, acting alone or in conjunction with others,
           solicit, take away, or divert, or attempt to divert, any customer of W&O or
           otherwise interfere with W&O’s relationship with any such Customer.
           Customer is defined as any person, company, or business entity to which
                                                6
    Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 7 of 19




           W&O sells, or has proposed to sell, goods or services and which Johnson,
           Pitre, Fuller, and Terry had contact with during their employment with W&O.

(Id. at ¶ 42).

        17.      Plaintiff does not allege that Defendants are in possession of or are using Plaintiff’s

confidential information, nor has it asserted a cause of action related to its confidential information.

However, Plaintiff requests that Defendants be restrained as follows:

    (b) Pitre, Johnson, Fuller, and Terry shall maintain the confidentiality of and not
        disclose “confidential information” received from W&O. “Confidential
        information” means any information that relates to W&O’s actual or anticipated
        business or research and development, technical data, trade secrets or know-
        how, the details or provisions of any written or oral contract or understanding
        between W&O and customers, any materials, manuals, forms, techniques,
        methods, or procedures of W&O, W&O’s Salesforce customer relationship
        system, W&O’s cost of materials, and W&O’s sales margins.

(Id. at ¶ 42).

        18.      Plaintiff does not allege that Defendants have destroyed or have threatened to

destroy evidence. However, Plaintiff requests that Defendants be restrained as follows:

       (c) Defendants shall be restrained from in any way, directly or indirectly,
           destroying, deleting, or altering in any form any information or evidence
           including documents, electronic information including texts, email, voice
           messages, photographs, and any other electronic data, related to the
           allegations in the lawsuit.

(Id. at ¶ 42).

        19.      Plaintiff also brings a single claim for tortious interference with a contract against

Defendant Independence. (Id. at ¶ 31). Plaintiff alleges that “Independence intentionally interfered

with such [employment] relationships in that it induced certain W&O employees, Pitre, Jonson,

Fuller, and Terry, to terminate their employment with W&O and violate their non-competes with

W&O.” (Id. at ¶ 32). Plaintiff further alleges that Independence acted to harm Plaintiff’s business

and obtain confidential information of Plaintiff, interfere with Plaintiff’s customer relationships.

                                                   7
       Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 8 of 19




(Id.). However, Plaintiff has not alleged any facts asserting that any Defendants have

inappropriately used Plaintiff’s confidential information.


                                      III.      PROCEDURAL HISTORY

           20.      On January 7, 2019, Plaintiff filed an Original Petition and Application for

Temporary Restraining Order and Temporary Injunction and a Motion for Expedited Discovery in

the 133rd District Court of Harris County, Texas.2

           21.      That same day, a hearing on Plaintiff’s application for temporary restraining order

was held before the ancillary court. The ancillary judge withheld her ruling on the TRO pending

Plaintiff submitting a revise proposed order. Two days later, on January 9, 2019, there was a second

hearing on Plaintiff’s application for temporary restraining order, and Plaintiff presented a new

proposed temporary restraining order to the Court narrowing the scope of the restraining order to

certain customers. The court denied Plaintiff’s request for temporary restraining order and motion

for expedited discovery on the basis that the Non-Compete Agreements are unenforceable.

           22.      After being denied a temporary restraining order in state court, on January 15, 2019,

Plaintiff non-suited its state court lawsuit and immediately filed its Original Complaint and

Request for Preliminary Injunction in this Court.

           23.      On February 11, 2019, Defendants Pitre, Johnson, Terry, and Fuller filed their

motion to dismiss Plaintiff’s Original Complaint and Request for Preliminary Injunction. (Doc.

12). On February 25, 2019, Plaintiff filed its Amended Complaint and Request for Preliminary

Injunction, where Independence Valve & Supply, LLC was first added as a Defendant and Plaintiff

first brought it claims for tortious interference with a contract against Independence and breach of




2
    This Court has already taken judicial notice of the Texas District Court proceeding.
                                                            8
    Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 9 of 19




fiduciary duty against Pitre. (Doc. 27). On March 4, 2019, Plaintiff filed its Response to

Defendants’ Motion to Dismiss arguing in support of their Original Complaint and requesting

leave to amend should the Court find that any deficiencies were not addressed in Plaintiff’s

Amended Complaint and Request for Preliminary Injunction. (Doc. 34). However, because

Plaintiff has amended its Complaint once as a matter of course, the Original Complaint and

Request for Preliminary Injunction is likely moot.3

                                    IV.      STANDARD OF REVIEW

        24.       “To survive a Rule 12(b)(6) motion to dismiss, the complaint does not need

detailed factual allegations, but it must provide the plaintiff's grounds for entitlement for relief—

including factual allegations that, when assumed to be true, raise a right to relief above the

speculative level.” Ruiz v. Brennan, 851 F.3d 464, 468 (5th Cir. 2017).

        25.      In deciding a motion to dismiss, “courts must consider the complaint in its entirety,

as well as...documents incorporated into the complaint by reference, and matters of which a court

may take judicial notice.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007).

A court may properly take judicial notice of publicly available documents and facts that are “not

subject to reasonable dispute” and are “capable of accurate and ready determination by resort to

sources whose accuracy cannot be reasonably questioned.” Fed. R. Evid. 201(b); see also Funk v.

Stryker Corp., 631 F.3d 777, 783 (5th Cir. 2011). The Court has already taken judicial notice of

Plaintiff’s state court filings and denial of a temporary restraining order.

        26.      Further, Rule 8(a) “demands more than an unadorned, the-defendant-unlawfully-

harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Failure to comply with Rule


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  Fed. R. Civ. P. 15(a)(1)(B); Giovinale v. JP Morgan Chase Bank, N.A., CV H-16-986, 2017 WL 3535440, at *3
(S.D. Tex. Aug. 17, 2017) (“An amended complaint supersedes the original complaint and renders it of no legal effect
unless the amended complaint specifically refers to and adopts or incorporates by reference the earlier pleading.”).

                                                         9
    Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 10 of 19




8(a) is grounds for a motion to dismiss under Rule 12(b)(6) of the Federal Rules of Civil

Procedure. Complaints must be dismissed when they contain only “threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements.” Id. at 678.

                                            V.       ARGUMENT

        27.      Plaintiff fails to state a claim for breach of contract and reformation of the Non-

Compete Agreements, and tortious interference with a contract under Texas law. In this case,

Plaintiff attempts to enforce Non-Compete Agreements that are not only overly broad and

unreasonably restrictive, but the covenants are missing the statutorily required time limitation.4

Plaintiff also attempts to bring a claim for tortious interference with a contract against

Independence based on the allegation that Independence interfered with Plaintiff’s relationship

with the other Defendants and induced Pitre, Johnson, Fuller, and Terry breach the Non-Compete

Agreements. Because the Non-Compete Agreements are unenforceable and are barred from being

judicially reformed, Plaintiff has failed to adequately plead a claim for relief and its claims for

breach of contract and tortious interference with a contract must be dismissed for failure to state a

claim under Rule 12(b)(6).

        28.      The enforceability of a covenant not to compete is regulated by Texas statute and

presents a question of law for the court. Olander v. Compass Bank, 172 F. Supp. 2d 846, 851 (S.D.

Tex. 2001), aff'd, 44 Fed. Appx. 651 (5th Cir. 2002) (citations omitted). “The enforceability of

non-compete clauses is governed by the Texas Covenants Not to Compete Act.” Hunn v. Dan

Wilson Homes, Inc., 789 F.3d 573, 584 (5th Cir. 2015) (citing Marsh USA Inc. v. Cook, 354 S.W.3d

764, 768 (Tex. 2011) (“Covenants that place limits on former employees' professional mobility or

restrict their solicitation of the former employers' customers and employees are restraints on trade


4
  The Non-Compete Agreements are unenforceable as written because, in addition to not being not reasonable limited
in geographic area and scope of activity to be restrained, the Non-Compete Agreements are lacking a time limitation.
                                                        10
   Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 11 of 19




and are governed by the Act.”)); Guy Carpenter & Co. v. Provenzale, 334 F.3d 459, 464–65 (5th

Cir. 2003) (applying Texas law and stating that non-solicitation covenants restrain trade and

competition and are governed by the Act); Rimkus Consulting Grp., Inc. v. Cammarata, 255

F.R.D. 417, 438–39 (S.D. Tex. 2008) (holding that a “nonsolicitation covenant is also a restraint

on trade and competition and must meet the criteria of section 15.50 of the Texas Business and

Commerce Code to be enforceable” (citations omitted)).

        29.     In the case of personal service occupations, such as salespersons, the employer has

the burden of establishing that covenants not to compete meet the requirements of Section 15.50.

Tex. Bus. & Com. Code § 15.51(b); see also D'Onofrio v. Vacation Publications, Inc., 888 F.3d

197, 211 (5th Cir. 2018). Additionally, as a contract, the Non-Compete Agreements are subject to

the basic tenants of contract law. A fundamental principle of contract law is that the contract is

only enforceable if it reflects the parties' agreement on all material terms. If the contract fails to

address a material term, the contract is not enforceable as a matter of law because a court cannot

determine the obligations of the parties. See, e.g., T.O. Stanley Boot Co., Inc. v. Bank of El Paso,

847 S.W.2d 218, (Tex. 1993) (“In order to be legally binding, a contract must be sufficiently

definite in its terms so that a court can understand what the promisor undertook.”); Richter v. Bank

of America National Trust & Savings Assoc., 939 F.2d 1176, 1196 (5th Cir. 1991) (“If an alleged

agreement is so indefinite as to make it impossible for a court to fix the legal obligations and

liabilities of the parties, it cannot constitute an enforceable contract”).

A. The Non-Compete Agreements Do Not Contain a Time Limitation.

        30.     Plaintiff’s Complaint fails to state a claim for breach of contract because the Non-

Compete Agreements are unenforceable under Sections 15.05 and 15.50 of the Act and cannot

serve as the basis for a breach of contract claim. Unless an agreement not to compete is reasonable,


                                                   11
   Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 12 of 19




it is a restraint of trade. Martin v. Credit Protection Ass'n, Inc., 793 S.W.2d 667, 668–69 (Tex.

1990). As stated above, the “Criteria for Enforceability of Covenants Not to Compete” requires a

restrictive covenant to contain reasonable limitations in time, geographical area, and scope of

activity to be restrained that impose restrictions only necessary to protect goodwill and business

interest of the employer. Tex. Bus. & Com. Code §15.50 (emphasis added).

        31.     Plaintiff has not plead the existence of enforceable Non-Compete Agreements.

Plaintiff’s Complaint fails to make any allegation that the Non-Compete Agreements contain a

reasonable time limitation. In fact, rather than address a time limitation, Plaintiff’s Complaint

attempts to gloss over this requirement, generally stating in conclusory fashion that “paragraphs

2-4 (regarding the restrictive covenants) of the Non-Compete Agreement are valid and enforceable

. . . ” and “the limitations as sought by W&O set out in these covenants concerning geographic

area and scope of activity restrained are reasonable and do not impose a greater restraint than is

necessary . . . .” (Doc. 27 at ¶¶ 30-31).

        32.     Under Texas law, lack of a time limitation, or a time limitation that is potentially

indefinite, makes a non-compete agreement unenforceable. Central State Logistics, Inc. v. BOC

Trucking, LLC, 2018 WL 5662669 *5, (Tex. App.—Houston [1st Dist.] 2018) (citing Cardinal

Pers., Inc. v. Schneider, 544 S.W.2d 845, 847 (Tex. Civ. App.—Houston [14th Dist.] 1976, no

writ)). Unlike the Non-Compete Agreements here, in Central State Logistics, Inc., the covenant at

issue had a temporal limitation that barred competition “[f]or a period of twenty four (24) months

following the Carrier’s last contact with any client or client[s] of Broker. . . .” Id. at *4. There the

court found the restrictive covenant unenforceable, stating:

           …the covenant lasts for two years after BOC Trucking’s last contact with any
           client of Diligent, regardless of whether BOC Trucking had had any previous
           interactions with them and regardless of whether the interaction was during

                                                  12
      Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 13 of 19




            or after the agreement. This creates the potential for a covenant not to
            compete that does not end.

Id.

         33.     Similarly, in Cardinal Pers., the covenant not to compete contained a provision that

extended the time period from six months after the employee’s termination, instead making the

agreement last until six months after the employee stopped being in violation of the agreement,

“whether voluntarily or by injunction.” Cardinal Pers., Inc., 544 S.W.2d at 847. The court held

this rendered the time period indeterminable because the time period could be ascertained “only

by hindsight; i.e., the duration of the covenant cannot be determined until the jurisdiction of the

trial court is invoked and its equity powers exercised.” Id.

         34.     Here, the time limitation for the restrictive covenant is likewise indeterminable

because Non-Compete Agreements are missing any semblance of a temporal limitation, which is

a material term to its enforceability.5 Like the non-compete restrictive covenants discussed above,

the Non-Compete Agreements Plaintiff seeks to enforce are unreasonable indefinite restraints on

trade. Moreover, there are no facts plead in the Complaint or provisions of the Non-Compete

Agreements that could aid in determining the time period to which the parties are obligated. See,

T.O. Stanley Boot Co., Inc. v. Bank of El Paso, 847 S.W.2d 218, (Tex. 1993) (“In order to be

legally binding, a contract must be sufficiently definite in its terms so that a court can understand

what the promisor undertook.”); Richter v. Bank of America National Trust & Savings Assoc., 939

F.2d 1176, 1196 (5th Cir. 1991) (“If an alleged agreement is so indefinite as to make it impossible

for a court to fix the legal obligations and liabilities of the parties, it cannot constitute an

enforceable contract”).


5
 While non-compete agreements related to the sale of a business need not contain a fixed time limitation, the Non-
Compete Agreements at issue in this case are related to employment and not to the sale of a business. See Oliver v.
Rogers, 976 S.W.2d 792, 800 (Tex. App.— Houston [1st Dist.] 1998, pet. Denied).
                                                        13
   Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 14 of 19




       35.     Furthermore, and as will be discussed in further detail below, the Court is not

statutorily authorized to reform the Non-Compete Agreements because remedying the time

limitation issue would require the insertion of a term not bargained for by the Parties rather than

the reformation of an unreasonable existing term. Therefore, because the Non-Compete

Agreements are unenforceable, they cannot serve as the basis for a breach of contract claim and

Plaintiff’s cause of action should be dismissed.

B. Plaintiff has failed to state a valid claim for reformation of the Non-Compete Agreements.

       36.     The Non-Compete Agreements are unreasonable restraints on trade and are

therefore unenforceable. Plaintiff has not plead the basis for inserting a temporal limitation or from

where that limitation should be derived. Plaintiff cannot plead facts showing it is entitled to the

relief of reformation of the Non-Compete Agreements because the Act does not permit this Court

to create a new temporal limitation that does not already exist in the restrictive covenants. See

Tex. Bus. & Com. Code §15.51(c).

       37.     Section 15.51(c) of the Texas Business and Commercial Code provides that a court

shall reform covenants not to compete which contain limitations as to time, scope, and area that

are unreasonable and impose a greater restraint than necessary. Tex. Bus. & Com. Code §15.51(c).

Prior to the 1993 amendment to the Covenants not to Compete Act, there was no restriction on the

reformation of a non-compete agreement lacking reasonable restrictions, and a court could reform

a non-compete agreement lacking these restrictions entirely. See B.J. Software Sys., Inc. v. Osina,

827 S.W.2d 543, 546 (Tex. App.— Houston [1st Dist.] 1992, no writ). However, as stated above,

the Texas legislature intended that a non-compete agreement only be reformed to narrow

overbroad limitations which are already a part of the covenant. By specifically adding the language

“contains limitations” and “limitations contained in the covenant” the Texas legislature makes it


                                                   14
   Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 15 of 19




clear that Section 15.51 requires that non-compete agreements contain limitations as to time,

geographical area, and scope of activity in order for an overbroad non-compete agreement to be

eligible for reformation. See Tex. Bus. & Com. Code § 15.51(c). It is the Plaintiff’s burden to

establish that reformation is appropriate and, if so, what would be a reasonable limitation. John R.

Ray & Sons, Inc. v. Stroman, 923 S.W.2d 80, 85 (Tex. App.—Houston [14th Dist.] 1996, writ

denied).

       38.     “The task of statutory interpretation begins and, if possible, ends with the language

of the statute.” Trout Point Lodge, Ltd. v. Handshoe, 729 F.3d 481, 486 (5th Cir. 2013). When

interpreting a statute, courts should enforce the law as written. LasikPlus of Texas, P.C. v. Mattioli,

418 S.W.3d 210, 220 (Tex. App.—Houston [14th Dis.] 2013) (holding that the court could not add

a buy-out provision to a physician non-compete agreement under Tex. Bus. & Com. Code §

15.50(b)). In applying the reformation statute, Texas courts usually have reformed unenforceable

restrictive covenants by revising the unenforceable provisions to those that would be reasonable

under the circumstances. See Butler v. Arrow Mirror & Glass, Inc., 51 S.W.3d 787, 794 (Tex.

App.—Houston [1st Dist.] 2001, no pet.); John R. Ray & Sons, Inc. v. Stroman, 923 S.W.2d 80,

85 (Tex. App.—Houston [14th Dist.] 1996, writ denied); GE Betz Inc. v. Moffitt-Johnson, 301 F.

Supp. 3d 668, 687 (S.D. Tex. 2014), aff'd in part sub nom. GE Betz, Inc. v. Moffitt-Johnston, 885

F.3d 318 (5th Cir. 2018). However, this reformation extends only to existing terms, and there is

no authority for adding non-existent terms to reform an agreement, and Plaintiff has offered no

authority to support its assertion.

       39.     While the Act does provide that non-compete agreements may be reformed if the

required terms of the agreement are deemed unreasonable, the statute clearly states that the non-

compete agreement must “contain limitations” in order for those limitations to be reformed by the

                                                  15
   Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 16 of 19




court. Tex. Bus. & Com. Code §15.51(c). It is not the courts duty to create limitations where none

previously existed. LasikPlus of Texas, P.C. 418 S.W.3d at 220.

       40.     The Non-Compete Agreements at issue in this matter are lacking a time limitation

entirely. If there is no time limitation in a non-compete agreement, then there is nothing for the

Court to reform, and the non-compete agreement is simply unenforceable.

C. Plaintiff has Failed to State a Claim for Tortious Interference with a Contract.

       41.     Plaintiff alleges that Independence tortiously interfered with a contract by enticing

Pitre, Terry, Fuller, and Johnson to breach the Non-Compete Agreements. However, Plaintiff’s

Amended Complaint fails to state a claim on which relief can be granted because as demonstrated

above, the Non-Compete Agreements in this case are unenforceable.

       42.     In order to prevail in an action for tortious interference with a contract, Plaintiff

must plead: “(1) the existence of a contract subject to interference, (2) willful and intentional

interference, (3) that proximately causes damage, and (4) actual damage or loss.” GE Betz Inc. v.

Moffitt-Johnson, 301 F. Supp. 3d 668, 669 (S.D. Tex 2014). However, a claim for tortious

interference cannot be maintained when it is based on a covenant not to compete which is

unreasonable and unenforceable. Id. (citing Lazer Spot, Inc. v. Hiring Partners, Inc., 387 S.W.3d

40, 49 (Tex. App. 2012), review denied (Mar. 29, 2013), reh'g overruled (Oct. 30, 2012)).

       43.     The only contract that Plaintiff alleges Independence interfered with are the Non-

Compete agreements of Pitre, Terry, Fuller, and Johnson which make up the basis for Plaintiff’s

breach of contract claim against those Defendants. As stated above, the Non-Compete Agreements

at issue in this matter are unenforceable and cannot be reformed to be enforceable because they

not only lack reasonable restraints as to time, geographic area, and scope of activity, but they do

not contain any time limitation at all.


                                                16
   Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 17 of 19




       44.     However, even if the Court rules that the Non-Compete Agreements are eligible for

reformation, Plaintiff has still failed to state a claim upon which relief can be granted for tortious

interference because the Non-Compete Agreements are clearly lacking a time limitation as

required by Section 15.50 and are therefore unenforceable as written. See Tex. Bus. & Com. Code

§ 15.50(a). When a non-compete agreement contains limitations as to time, geographical area, or

scope of activity that are overbroad or unreasonable and impose a impose a greater restraint that

necessary to protect the interest of an employer, then “the court may not award the promise

damages for breach of covenant before its reformation[.]” Tex. Bus. & Com. Code § 15.51(c).

Because damages are not available prior to the reformation of an unreasonable non-compete

agreement, a claim for tortious interference of a contract cannot be maintained based on a non-

compete that is unenforceable as written. Compass Bank v. Texas Community Bank, 2010 WL

11506744 *4-5, (W.D. Tex. 2010) (holding that damages are only available for breaches of an

unenforceable non-compete agreement post reformation); Orthoflex, Inc. v. ThermoTek, Inc., 2012

WL 2864510, at *6 (N.D.Tex. July 12, 2012) (dismissing claims for tortious interference when

damages were only for actions that occurred before reformation of an unenforceable covenant not

to compete).

       45.     Plaintiff’s tortious interference claim is based solely on Non-Compete agreements

which are unenforceable as written, and Plaintiff is not entitled to damages prior to the reformation

of the Non-Compete agreements, even if reformation of the Non-Compete Agreements is

appropriate in this matter, which it is not. Therefore, Plaintiff has not plead any recoverable

damages, which is required for a claim of tortious interference with a contract, and Plaintiff’s

claims for tortious interference with a contract must be dismissed as a matter of law.




                                                 17
   Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 18 of 19




                                     VI.    CONCLUSION

       Plaintiff has failed to allege a valid breach of contract claim or a claim for tortious

interference with a contract because it has failed to establish that the Non-Compete Agreements

are enforceable under Texas law. The Non-Compete Agreements do not contain a time restriction,

and the Texas Covenants Not to Compete Act does not permit reformation of the unenforceable

restrictive covenants in this case. Because Plaintiff has failed to state a claim upon which relief

can be granted the Court should dismiss Plaintiff’s claims for breach of contract and tortious

interference in Plaintiff’s Amended Complaint and Request for Preliminary Injunction under

Federal Rule of Civil Procedure 12(b)(6).



This the 8th day of March, 2019.                     Respectfully submitted,

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                                                18
   Case 4:19-cv-00153 Document 39-1 Filed on 03/08/19 in TXSD Page 19 of 19




                                  CERTIFICATE OF SERVICE

        I, herby certify that a true and correct copy of the foregoing has been served on all counsel
of record whom have appeared in this case via the Southern District of Texas Electronic Case
Filing System on March 8, 2019.




                                              By: /s/ Christopher L. Johnson




                                                 19
